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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBORAH CHARLEST()N and
LARRY CHARLEST()N, W/h

VS.

CIVIL ACTI()N

SALON SECRETS DAY SPA, INC. and : NO. 08-5889
PT LASERS, LLC and :

PAMELA A. TROYAN and

BARBARA A. LINDNER and

THOMAS J. BURKE, D.O. and

JOHN DOE, Nos. 1-5

ORDER

AND NOW, this day of , 2011, upon consideration of

the motion for partial summary judgment of defendants, Salon Secrets Day Spa, Inc. and Pamela A.

Troyan, any responses thereto, and good cause appearing, it is hereby ORDERED AND DECREED

that summary judgment is GRANTED, as follows:

l.

2.

Pamela Troyan is dismissed With prejudice

The punitive damages claims against Pamela Troyan and Salon Secrets Day Spa, lnc.
are dismissed With prejudice

The claims in Count III alleging Consumer Fraud (UTPCPL) against Pamela Troyan
and Salon Secrets Day Spa, Inc. is dismissed With prejudice

The claims in Count III, Paragraph 287, of the Amended Complaint alleging claims
for treble damages against Pamela Troyan and Salon Secrets Day Space are
dismissed With prejudice

The claims in Count lV alleging Common Law Fraud against Pamela Troyan and
Salon Secrets Day Spa, Inc. is dismissed With prejudice

By' the Court:

 

Robert F. Kelly, Senior Judge

 

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IN THE UNITED STATES DISTRICT COURT
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CIVIL ACTION
vs.

SALON SECRETS DAY SPA, INC. and : N(). 08-5889
PT LASERS, LLC and :

PAMELA A. TROYAN and

BARBARA A. LINDNER and

THOMAS J. BURKE, D.O. and

JOHN DOE, Nos. 1-5

PARTIAL MOTION OF SUMMARY JUDGMENT OF SALON SECRE'I`S DAY SPA,
INC. AND PAMELA A. TROYAN RE ALL CLAIMS VS. PAMELA TROYAN THE
PUNITIVE AND TREBLE DAMAGES CLAIMS AND COUNTS III AND IV ALLEGING
CONSUMER AND COMMON LAW FRAUD

 

l. This case arises out of a chin and jaw laser hair removal service of February 10, 2007
to plaintiff, Deborah Charleston [hereinafter “plaintiff’] under the medical supervision of Thomas
J. Burke, D.O. , a dermatologist and medical director of Salon Secrets Day Spa, lnc. [hereinafter
“Salon Secrets”]. Plaintiff claims she sustained burns Which have since healed.l

2. The laser hair removal Was performed by defendant, Barbara Lindner, at Salon
Secrets, a salon and spa, Wholly owned by Pamela Troyan.2 At all times, MS. Lindner Was a licensed

esthetician and an employee of Salon Secrets.3 She Was not employed by Ms. Troyan personally

 

l Plaintiff claims she still has some hyperpigmentation of the chin and jaws. See deposition of plaintiff,
Exhibit “C”, N.T. 158.

2 Defendant P.T. Lasers, LLC Was formed by Dr. Burke and Ms, Troyan to acquire the Harmony laser
device used to perform the service at issue There is no dispute that the laser could not be acquired by a
layperson-only by a licensed doctor.

3 A copy of the Amended Complaint is attached hereto as Exhibit “A”. On March 3 l, 2009 and Apri120,
2009, moving defendants filed a Motions to Dismiss with regard to the original and amended complaints Counsel
for defendant Thomas J. Burke filed a Motion to Strike and Partial Motion to Dismiss on March 31, 2009 and April
27, 2009, On June l, 2009, the Honorable Robert Kelly denied granted motions to dismiss filed by defendants and
struck paragraphs 48, 49, 50, Sl, 53, 54, 55, 61, 63, 70, 71 and 72 from the amended complaint

 

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3. Pamela Troyan and Salon Secrets filed an Answer to the Amended Complaint;4 and
denied liability.

4. The discovery deadline was October 29, 2010. The motion deadline is January 14,
2011. There is no trial date

5. On October 15, 2009 plaintiff, Deborah Charleston, was deposed.5

6. Plaintiff became a client of Salon Secrets after discovering its website while
researching where to have eyelash extensions done6 She had eyelash extensions performed on
November 10 and 27, 2006, January 13, 27 and February 10, 2007-all by Barbara Lindner.7

7. On February 10, 2007 she also had microdermabrasion of her face performed by Ms.
Lindner, which she had booked during her previous visit.8 She decided on this service because she
thought it would freshen up her face9

8. Prior to the February 10, 2007 visit plaintiff did not know Salon Secrets offered laser
hair removal services or that these services were performed under the supervision of Dr. Bu.rke.10

9. Plaintiff claims Ms. Lindner did not give her a consent form to sign.ll To the

contrary7 Barbara Lindner testified that she did give plaintiff a consent form to sign and discussed

 

4 A copy of moving defendants’ AnsWer to the Amended Complaint is attached hereto as Exhibit “B”.

5 A copy of Deborah Charleston’s deposition is attached hereto as Exhibit “C”. Plaintiff, Larry Charleston,
was also deposed on October 15, 2009. His testimony was not pertinent to the within motion.

6 See deposition of plaintiff, Exhibit "C", N.T. 97-99.

7 M. at N.T. 103-104. Barbara Lindner was deposed on August 5, 2010. A copy of her deposition is
attached hereto as Exhibit “D”.

8 See deposition of plaintiff, Exhibit "C", N.T. 104.
9 n at N.T. 104-05.

10 iq. arN.T. 116-117.

" 1_d.atN.r. 122.

 

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the possibility of hyperpigmentation as a risk.12

10. At the time of the laser hair removal service at issue, Ms. Lindner believed that Dr.
Burke was medical director of Salon Secrets.13

l 1 . Ms. Lindner, who was trained to operate the Harmony laser device, had suggested to
plaintiff that she try laser hair removal after plaintiff mentioned “electrology” because the laser hair
removal was more advanced14

12. During training, employees of Salon Secrets were taught that a skin test was required
before performing a laser hair removal service15

13. Pamela Troyan was deposed on March ll, 2010 and June 9, 2010.16 She testified
regarding salon policies and procedures relating to the Harmony laser device; and that Dr. Burke was
medical director of Salon Secrets in February, 2007.17

14. Ms. Troyan testified that it was salon policy that patients undergoing laser services
were to have a skin test first and the esthetician was to inspect the test spot 24-48 hours later.18

15. Ms. Troyan required all employees to complete a training session on the laser device

 

12 See deposition of Barbara Lindner, Exhibit “D”, N.T. 66-67, 7 5-76. Ms. Lindner testified was salon
policy to give patients a consent form to sign. lc_l4 at N.T. 66-67.

‘3 iii at N.T. 133-134. see also deposition ofDr. Burke, Exhibit “”,G N.T. 44 hereinafter in which he
testified that the Harmony device would only be sold to or acquired by a physician In other words, without Dr.
Burke, Salon Secrets could not have acquired the Harmony device

14 See deposition of Barbara Lindner, Exhibit “D”, N.T. 154-44.

15 I_d. at N.T. 98. Ms. Lindner conceded that she did not comply with the standard of care because she did
not wait 24-48 hours after performing a skin test. l_d. at N.T. 99-100.

16 A copy of her depositions are attached hereto as Exhibit “E” and “F”, respectively
17 Ms. Troyan is a 100% shareholder of Salon Secrets Day Spa, Inc. She owns 50% of PT Laser. The
other 50% is owned by Dr. Burke. PT Laser ceased oparation in December, 2007 but it is still viable corporation;

and neither she nor Dr. Burke have resigned See deposition of Pamela Troyan, Exhibit “E”, N.T. 5-13.

18 See Deposition of Pamela Troyan, Exhibit “E”, N.T. 49-50.

3

 

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before they could use it.19

16. At the time of the alleged incident of February 10, 2007, Ms. Troyan did not know
Dr. Burke did not consider himself to be medical director.20 To the contrary, since the laser device
was shared equally by Dr. Burke and Salon Secrets (each had it about 2 weeks per month) as of the
time of the alleged incident, and Dr. Burke did not tender his resignation to Salon Secrets, Ms.
Troyan believed that he was, in fact, the Medical Director.

17. That Dr. Burke was, in fact, the Salon Secrets medical director was further confirmed
to Ms. Troyan when she spoke with Dr. Burke shortly after plaintiff s incident; and he did not say
anything about no longer being medical director or that the incident was not his responsibility21

18. Dr. Burke was deposed on February 18, 2010 and May 4, 2010.22

19. Dr. Burke testified he was not directly involved in the training of Barbara Lindner but
he testified that the estheticians were trained on the Harmony machine and he was present23

20. Dr. Burke’s Pennsylvania medical license lapsed on October 31, 2006 but he never

 

19 see deposition of Pamela Troyon, Exhibit “”,E N.T. 79-80.

20 _Id at N.T. 109-10, Ms. Troyan testified that she was not aware that Dr. Burke was resigning as medical
director until December, 2007. l_d; at N.T. 109-12. This is contrary to Dr. Burke’s testimony that he told Ms.
Troyan he was resigning in February, 2006 and it would be effective April, 2006. See deposition of Dr. Burke,
Exhibit “G”, N.T. 94.

Additionally, Jason Carpenter, the MedX employee who trained the technicians at the spa, testified that both
Pamela Troyan and Dr. Burke contacted him about the medical director position in early 2006. He said Pamela
Troyan contacted him seeking help to find a new medical director and Burke contacted Mr. Carpenter about
resigning as medical director. See deposition of Jason Carpenter, Exhibit “J”, N.T. 38-39, 41-43.

Regarding of this factual dispute about whether Dr. Burke was the medical director, it was Ms. Troyan’s
impression that Dr. Burke was acting as a medical director of the spa until a replacement was found.

21 See deposition of Pamela Troyan, Exhibit “E”, N.T. 42-46.

22 Dr. Burke’s depositions are attached hereto as Exhibit “G” and “H”, respectively

23 See deposition of Dr. Burke, Exhibit "G", N.T. 22-24. Mr. Carpenter testified that Dr. Burke trained
employees of the clinical background See deposition of Mr. Carpenter, Exhibit “J”, N.T. 24.

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provided Pamela Troyan with documentation of this lapse, nor did he tell any employees at the spa.24

21. Dr. Burke testified that he was responsible for supervision of the Harmony laser
device25

22. Even after Dr. Burke’s so-called resignation as medical director of Salon Secrets, he
continued to share the Harmony laser device with Salon Secrets. He would pick up and drop off the
laser every 2 weeks (he shared it with Salon Secrets), and he still had keys to Salon Secrets.26

23. The office manager of Salon Secrets, Ana Ortiz ,was deposed on August 24, 2010.27
She often transported the laser to Dr. Burke’ s office or picked it up; and testified that she had no idea
that Dr. Burke was no longer medical director during that time as of the time of the service at issue.23

24. Two other Salon Secrets employees, Stephanie Burns and Kim Lancashire,
estheticians like Barbara Lindner, also were not aware that Dr. Burke resigned. lt was their belief
that in February 2007 Dr. Burke was acting as medical director of the spa.29

25. ln addition, l\/ls. Burns was aware that the Harmony laser was shared by Dr. Burke
and Salon Secrets in 2006 and 2007. At no point did anyone at the Spa tell her that he had resigned

or that Pamela Troyan was looking for a new medical director.30

 

24 see deposition of Dr. Burke, Exhibit “”,G N.T. 46-48.
25 See _i_d;
26 See deposition ofDr. Burke, Exhibit "H" N.T. 189.

27 A copy of her deposition is attached hereto as Exhibit “I.”

28 See deposition of Ana Ortiz, Exhibit "I", N.T. 13-17. This is contrary to Dr. Burke’s testimony that he
told Ana he was no longer medical director. See deposition of Dr. Burke, Exhibit “G”, 89-90.

29 see deposition ofAna ortiz, Exhibit “”,i N.T. 38; deposition of stephanie Bntns, Exhibit “”,K N.T. 39-
40; and deposition of Kim Lancashire, Exhibit “L”, N.T. 44.

30 See deposition of Stephanie Burns, Exhibit "K", 56-57.

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A. The Punitive Damages Claims Should Be Dismissed

26. Plaintiffs allege that they are entitled to punitive damages based on the actions of
defendants, Salon Secrets and Pamela Troyan.31 There is no evidence to support such a claim.

27. This court has adopted the Pennsylvania Supreme Court standard for punitive

damages Mansamann v. Tuman, 970 F. Supp. 389 (E.D. Pa. 1997)(citing SHV Coal Inc. v.

 

Continental Grain Co., 526 Pa. 489, 493 (1991). Punitive damages may be awarded only for conduct
that is especially egregious or outrageous. Martin v. Johns-Manville Coro.. 508 Pa. 154, 494 A.2d
1088, 1096-97 (Pa. 1985), Medvecz V. Choi, 569 F.2d 1221 (3d Cir. 1977) (citing Restatement of
Torts, Section 908 (1939)). Punitive damages may not be awarded for misconduct, “which
constitutes ordinary negligence such as inadvertence, mistake and errors of judgment.” _l\_/l_a_rtg,
494 A.2d at 1097 (emphasis added).

28. Pennsylvania has adopted section 908 of the Restatement (Second) of Torts and
accompanying comments regarding the imposition of punitive damages. Section 908(2) provides,
in pertinent part:

Punitive damages may be awarded for conduct that is outrageous, because of the defendant's
evil motive or his reckless indifference to the rights of others.

Restatement of Torts (Second) § 908(2). Comment b to this section of the Restatement states:
“Punitive damages are awarded only for outrageous conduct, that is, for acts done with a bad motive
or with reckless indifference to the interests of others.” _I_d_.

29. The Pennsylvania Supreme Court has reiterated the exacting standards for a plaintiff
to prevail on a punitive damages claim. “[The] assessment of punitive damages are proper when a

person's actions are of such an outrageous nature as to demonstrate intentional, Willful, wanton,

 

31 see Exhibit “A” tim 289-295.

 

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or reckless conduct, and are awarded to punish that person for such conduct.”(emphasis added)
Mansamann v. Tuman, 970 F. Supp. 389 (E.D. Pa. 1997)(citing SHV Coal, lnc. v. Continental Grain
Q_g, 526 Pa. 489, 587 A.2d 702, 704 (Pa.1991); see also Neal v. Carey Canadian Mines, Ltd., 548
F.Supp. 357, 377 (E.D. Pa.1982).

30. If there is any negligence at issue in this case (which is denied for purposes of this
motion) is it simply that~ordinary negligence on the part of on Barbara Lindner, an employee of
Salon Secrets, in connection with performance of the laser hair removal service without the requisite
skin test at issue32 There is no evidence of any conduct of Salon Secrets or Ms. Lindner which was
with evil motive or reckless indifference

31 . At the time of the incident, it was Ms. Troyan’s belief that Dr. Burke was the acting

medical director.33

There is no evidence that she intentionally or recklessly operated without a
medical director.34 Ms. Troyan was not aware Dr. Burke’s medical malpractice coverage lapsed until
December 2007,35

32. Of perhaps greater importance if Dr. Burke admitted to being the medical director
at the time of the laser service at issue in this lawsuit, which he denies, there is no evidence from the

plaintiffs or Dr. Burke that Ms. Lindner’s conduct would have been any different or that the alleged

burns to plaintiff would not have occurred. Otherwise stated, there is no evidence that Ms. Lindner

 

32 Ms. Lindner admitted she did not do a skin test and did not wait the 24-48 hour period, however, she was
not do so with an intent to harm or with evil or reckless motive toward plaintiff Indeed, she had used the machine
prior to the date at issue on four(4) other Af`rican American clients, including herself, in addition to plaintiff See
deposition of Barbara Lindner, Exhibit "D", N.T. 37. '

33 see deposition or Pamela rtoyan, Exhibit "",F N.T. 345-347.

34 Although Dr. Burke and Mr. Carpenter both testified that Ms. Troyan inquired about finding a new
medical director, this does not alter her belief that Dr. Burke was medical director at the time of the incident
Furthermore, Ms. Troyan did not have any knowledge an on site medical director was needed to operate the
Harmony device, she thought it was acceptable for the doctor to be offsite See deposition of Pamela Troyan,
Exhibit “E”, N.T. 200-03.

35 see deposition of Dr. Burke, Exhibit ‘G”, N.T. 44-46.

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would have consulted with Dr. Burke before performing the service or that he would have been at
the salon in person supervising the service The outcome of the service would not have been
different for the plaintiff if Dr. Burke was medical director.

33. Therefore, the apparent dispute between Salon Secrets and Dr. Burke in this lawsuit
over whether he was the medical director can not form the basis for the type of conduct necessary
for punitive damages to be appropriate The belief on the part of Salon Secrets, Ms. Troyan and Ms.
Lindner that Dr. Burke was the medical director at the time, even if an mistaken belief, was not
intentional, willful, wanton, or reckless conduct necessary for an award of punitive damages

B. Plaintiffs Can Not Pierce the Cornorate Veil of Salon Secrets Dav St)a. Inc.
So Pamela Trovan Sued Individuallv Should Be Dismissed

34. Plaintiffs allege that Pamela Troyan, as an individual, is liable for negligence (Count
I), informed consent (Count II), Consumer Fraud (Count III), Common Law Fraud (count lV),
negligent misrepresentation (Count V), negligence per Se (Count VI), loss of consortium (Count VII)
and negligent infliction of emotional distress (Count VIlI).36

35. Ms. Troyan, the owner of Salon Secrets Day Spa, lnc., is not personally liable to
plaintiffs because plaintiffs fail to present the requisite evidence to pierce the corporate veil and hold
her personally liable for plaintiffs’ claims.

36. Whether the corporate veil which protects the shareholders or owners of a
corporations for the actions of the corporations may be pierced is a matter of state law. See _S_LL
Creations Investment Co.. Ltd. v. Alan Amron Development, lnc., 1995 U.S. Dist. LEXIS 11967,
*34 (E.D.Pa.1995). ln Pennsylvania, courts employ a “totality of the circumstances test.” Plastipak

Packaging, Inc. v. DePasguale, 75 Fed. Appx. 86, 88 (3d Cir.2003) (citing First Realvest Inc. v.

 

Avery Builders, lnc., 410 Pa.Super. 572, 600 A.2d 601, 604 (Pa. Super. 1991)).

 

36 see Exhibit “A”.

 

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37. Applying this “totally of the circumstances test”, Pennsylvania courts have generally
been willing to pierce the corporate veil only “whenever necessary to prevent injustice.” Ld. (citing
Rinck v. Rinck, 363 Pa. Super. 593, 526 A.2d 1221, 1223 (Pa. Super. 1987)). There is no basis in
this case to pierce the veil. The corporate entity that employed Ms. Lindner, Salon Secrets, was
named as a defendant; and Ms. Troyan was not personally involved in performing the laser service

38. Piercing the corporate veil is the exception and the corporate entity of Salon Secrets
should be upheld and shield Ms. Troyan from personal liability because there are no specific or
unusual circumstances

39. The factors which are considered when determining whether the corporate veil should
be pierced in Pennsylvania are: (l) undercapitalization; (2) failure to adhere to corporate formalities;
(3) substantial interrningling of corporate and personal affairs; and (4) use of the corporate form to

perpetuate a fraud. See Klein v. Weidner, 2010 WL 571 800 (E.D.Pa. 201 0) (quoting Lumux lndust.

 

Inc. Aultman, 543 Pa. 38 (1995)).
40. Plaintiffs here have not plead any of the above four (4) factors to piercing the
corporate veil theory, and equally important, they do not have evidence to support any of them.
41. Solely because Pamela Troyan is the sole owner of Salon Secrets does not make her
personally liable Being president or CEG does not make an individual personally liable See @3_
Occupational Therapv lnc. v. Bala Nursing and Retirement Center. LTD, 2005 WL 280838 (Phila

Cty 2005).37

 

37 In Occupational Therapv. Inc. v. Bala Nursing and Retirement Center. supra, the court ruled that there
was insufficient evidence to pierce the corporate veil. The court did not hold defendant Peter Miller, the President
and CEC) personally liable for claims against Bala Nursing and Retirement Center, MDC Asset Management Corp
and the Center for Rehabilitative Therapies based solely upon an affidavit that stated he was either the President or
CEO of those business entities Plaintiff argued the corporate veil must be pierced to hold Miller personally liable
for the alleged acts of CRT, MDC, and Bala including claims for breach of contract, fraud and conversion, among
others, because Miller was the CEO or President of the entities and Plaintiff had an Affidavit to that effect and used
the affidavit to argue that Miller’s status alone could establish these businesses were merely an instrumentality of
Miller. The court concluded that this alone did not provide sufficient evidence to support Miller’s personal

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42. Plaintiffs may argue that the “participation theory” imposes personal liability on Ms.
Troyan. That argument must be rej ected. Under this theory, corporate officers or shareholders are
liable where they have personally taken part in the tortious actions of the corporation. See W_i<$s_
v. Milzoco Builders, lnc., 503 Pa. 614, 621 (1983).33 Here, Ms. Lindner committed the alleged
tort-the alleged negligence use of the laser hair removal device-not Ms. Troyan personally; and Ms.
Lindner was an employee of Salon Secrets-not Ms. Troyan.

43. The Supreme Court of Pennsylvania has adopted the following definition of
“participation theory”:

The general, if not universal, rule is that an officer of a corporation who takes part in the

commission of a tort by the corporation is personally liable therefor; but that an officer of a

corporation who takes no part in the commission of the tort committed by the corporation

is not personally liable to third persons for such tort, nor for the acts of other agents, officers
or employees of the corporation in committing it, unless he specifically directed the
particular act to be done or participated, or cooperated therein.
Wicks, 503 Pa. at 621-22, 470 A.2d 86 (citing 3A Fletcher, Cyclopedia of the Law of Private
Corporations § 1137, p. 207 (perm. ed. rev.1975)). There is no evidence that Ms. Troyan either
participated in or directed the alleged tort.39

44. A corporate officer may be held individually liable only if he or she has taken some

sort of affirmative act in furtherance of the alleged tort. Indeed, this court noted that corporate

 

liability and granted the motion for summary judgment on this claim. 2005 WL 280838.

38 In Wicks, the plaintiffs were homeowners in a subdivision and they brought a cause of action alleging
the corporation and its individual shareholders were liable in tort. The Complaint stated the individual shareholders
were aware, or should have been aware, of the problems, and therefore, were negligent in failing to take appropriate
measures ln Wicks the court held the allegations were sufficient to establish a cause of action in tort against the
individual shareholders under the participation theory because the shareholders were personal participants in the
tortious acts allegedly committed by the corporation. See id_. at 617-18.

 

 

39In Loeffler v. McShane, 372 Pa. Super. 442 (1988), the Pa. Superior Court held a corporate officer liable
in his individual capacity because the officer specifically directed the particular act at issue be done (active
involvement in misallocation of funds). See Loeffler, 372 Pa. Super. at 447.

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officers may only be held liable for misfeasance, and not “mere nonfeasance.” I_d_. at 622, 470 A.2d
86. See McGovern v. lack D'S. Inc. 2004 WL 228667 (E.D.Pa. 2004). Consequently, Ms. Troyan
can not be held personally liable since she did not participate in the performance of the laser hair
removal.

45. The Pennsylvania Supreme Court stated in Wicks, supra, that claiming the corporate

 

officer should have known the consequences of the liability creating corporate act alone is
insufficient to prove liability. See § at 623.

46. Additionally, when her employees performed a salon service, it was Ms. Troyan's
understanding that the Salon Secrets employees were following the procedures of the salon on which
they were trained.40

47. Furthermore, there is no evidence that plaintiff relied upon any representation made
of Ms. Troyan personally in deciding to have the laser service41 Ms. Charleston came into the salon
for eyelash extension and a microdermabrasion and elected to have the laser hair removal during
consultation Session with Ms. Lindner, an employee of Salon Secrets.42

48. Ms. Charleston did not recall reading any representation at Salon Secrets, such as an
article or a business card, or on the website, which enticed her to have the laser hair removal.43
C. Count III Alleging Consumer Fraud (UTPCPL) Should Be Dismissed

49. In Count III plaintiffs allege Pamela Troyan and Salon Secrets engaged in or allowed

others to engage in the unauthorized practice of medicine, violating the Pennsylvania Unfair Trade

 

40 See deposition of Pamela Troyan, Exhibit "E", N.T. 175.

‘" see deposition of Deborah charieston, Exhibit "",C N.T. 68, 70, 97, 104. Plaintiff had prior to
becoming a client of Salon Secrets consulted with Dr. Vause, a dermatologist, regarding laser hair removal on April
27, May 16, 2006. g at N.T. 68.

42 See deposition of Barbara Lindner, Exhibit “D”, N.T. 116-17.

43 see deposition ofplaintiff, Exhibit “”,C N.T. 110.

ll

 

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].44 Specifically, “[i]n the event Pamela Troyan

Practices and Consumer Protection Law [UTPCPL
did not disclose to Barbara Lindner that Dr. Burke terminated his agreement with the Spa, then
Pamela Troyan is liable for concealing from her employees this information which caused Ms.
Lindner to unknowingly engage in the unlawful practice of medicine.”45

50. Additionally, plaintiffs allege “Defendant aided and/or abetted this unlawful practice
by delivering a prescription medical device to a Spa and its employees, who were all unauthorized
to use the device in the absence of supervision.” See ic_i_. at 111[283-85.

51. Plaintiffs have no evidence Salon Secrets or Pamela Troyan committed consumer
fraud under the UTPCPL. First of all, plaintiff s services were provided by Salon Secrets~not by Ms.
Troyan. Private actions are defined under the Act as:

(a) Any person who purchases or leases goods or services primarily for personal, family or

household purposes and thereby suffers an ascertainable loss of money or property, real or

personal, as a result of the use or employment by any person of a method, act or practice
declared unlawful by section 3 of this act, may bring a private action, to recover actual
damages or one hundred dollars ($100), whichever is greater.

73 P.S §201~9.2(a).

52. To prove liability under the UTPCPL, the plaintiff needs to present sufficient
evidence that she justifiably relied upon the alleged misrepresentations made by defendants
Specifically, as Pennsylvania Supreme court held in Weinberg v. Sun Co., 740 A.2d 1152 (Pa.
Super. 1999), that “[t]o bring a private cause of action under the [Consumer Protection Law], a

plaintiff must show that he justifiably relied on the defendant’s wrongful conduct or representation

and that he suffered harm as a result of that reliance.” A justifiable reliance requires the plaintiff

 

44 see Exhibit “A”, 1265

45 See ida at 11269. Further, that the “unfair or deceptive acts or practices resulted from both the
nondisclosure of information along with the conduct of` Ms. Lindner who acted as though she was approved to
perform laser hair removal as a precursor to the scheduled microdermabrasion procedure.” I_d_: at 1278 Furthermore
that plaintiff is entitled to damages under the Consumer Fraud Act and defendants are liable under the same

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to show she justifiably bought the product or service because of the misrepresentations; a
causal connection is not enough. See Weinberg, 777 A.2d at 445. This standard applies to all
sections of the Consumer Protection Law. See Hunt v. United States Tobacco Companv, 538 F.3d
217, 224 (3rd Cir. 2008).46

53. In other words, plaintiff must demonstrate that common law elements of justifiable
reliance in order to sustain a private cause of action under the UTPCPL. Toy v. Metropolitan Life
lnsurance Co., 863 A.2d 1 (Pa. Super. 2004).

54. There is insufficient evidence that Mrs. Charleston justifiably relied upon any
representation made by Pamela Troyan or Salon Secrets regarding the laser procedure and/or
presence of a medical director. Specifically, plaintiff knew about laser hair prior to receiving it at
Salon Secrets ~ she discussed having a laser hair removal with Dr. Vause on May 16, 2006.47

5 5. Accordingly, plaintiff knew about and was interested in receiving laser hair removal
before discussing it with Ms. Lindner,

56. There is no evidence that Pamela Troyan personally made any representations to
plaintiffs about the laser hair removal.

57. Equally important, plaintiff was not enticed to go to Salon Secrets for the laser hair
removal by any representation on the Salon’s website regarding the service She did not see any
business cards of a physician on the reception desk.48

58. In the alternative as is set forth hereinafter in defendants’ memorandum of law, no

 

46 In M, Judge Ambro of the Third Circuit stated that the Supreme Court of Pennsylvania has
consistently interpreted the Consumer Protection Law’s private-plaintiff standing provision causation requirement
that there must be a showing of justifiable reliance, not simply a causal connection between the misrepresentation
and the harm, _Ijl_u_r_it, 538 F.3d at 222.

47 see deposition ofpiaintiff, Exhibit ""c N.T. 67, 63-69.
48 i_d_. at N.T. 110.

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claim exists against a salon and a salon owner under the UTPCPL based on the allegations that an

improper and/or unsupervised medical procedure was performed, or for fraud.

D. Paragraph 287 of the Amended Complaint Claiming Threefold or Treble Damages
Should Be Dismissed

59. Plaintiffs allege that they are entitled to treble damages because defendants breached
the Consumer Fraud Act.49

60. The UTPCPL statute only allows treble damages to be awarded when the act is
violated, however, such an award is discretionary There is no basis for them in this case

61. In exercising their discretion to award treble damages under the Unfair Trade
Practices and Consumer Protection Law, courts of original jurisdiction should focus on the presence
of intentional or reckless conduct. Schwartz v. Rockey, 932 A.2d 885, 593 Pa. 536 (2007). Such
conduct is clearly lacking in this case

62. Ms. Troyan did not intentionally practice medicine, as plaintiffs’ allege, because she
did not know Dr. Burke was officially no longer functioning as medical director of the Salon
Secrets50 At best for plaintiffs, Salon Secrets operated under the mistaken impression that Dr. Burke
was still the medical director; and there is no evidence that if the was the medical director that the
outcome in this case would have been any different Therefore, the absence of a medical director
is no a basis for treble damages

63. Equally important, the alleged conduct at issue of Ms. Lindner, an employee of Salon

Secrets, is not indicative of anything other than the negligent use of the laser device The record is

 

49 see Exhibit “A”, 1281

50 Ms. Troyan testified that she did not recall Dr. Burke informing her that he was resigning as medical
director until December 2007. See deposition of Pamela Troyan, Exhibit "E", N.T. 200-03, Exhibit “F”, N.T. 346-
347. She may have known he intended to resign, but not that he was no longer in that role. Particularly because he
continued to come to the spa to pick up and drop off the machine; and he shared the device equally with Salon
Secrets

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devoid of evidence that would demonstrate Ms. Troyan, Ms. Lindner or any other Salon Secrets
employee acted with intentional or reckless conduct toward the plaintiff51
E. Count IV Alleging Common Law Fraud Should Be Dismissed

64. Plaintiffs’ also allege that Ms. Troyan and Salon Secrets failed to disclose the risks
of the procedure the need for a skin test and the need for a medical director. Further, that the
defendants’ affirmative representations and/or silence was fraudulent and intentional Also, that the
disclosure of this information to the plaintiff would have been material to the decision of the plaintiff
and the plaintiff would not have agreed to the hair removal procedure52

65. The elements of common law fraud are: (1) a representation; (2) which is material
to the transaction at hand; (3) made falsely with knowledge of its falsity or recklessness as to whether
it is true or false; (4) with the intent of misleading another into relying on it; (5) justifiable reliance
on the misrepresentation; and (6) resulting injury was proximately caused by the reliance
Zaborowski v. Hospitalitv Care Center of Hermitage lnc._ 2002 WL 32129508 (Mercer Cty 2002)
(citing Gibbs v. Ernst, 538 Pa. 193, 647 A.2d 882, 889 (1994)).

66. A misrepresentation, however, must be distinguished from puffery. L, see Berkebile
v. Brantlv Helicopter Corp., 462 Pa. 83, 103, 337 A.2d 893, 903 (1975). Puffery is “an exaggeration
or overstatement expressed in broad, vague and commendatory language.” Castrol lnc. v. Pennzoil
_C_o_., 987 F.2d 939, 945 (3d Cir. 1993).

67. Such speech is “offered and understood as an expression of the seller's opinion only,
which is to be discounted as such by the buyer, and on which no reasonable [person] would rely.”

ids W. Page Keeton, Prosser and Keeton on the Law of Torts §109 at 757 (5th ed. 1984). “lt is

 

51 See deposition of Pamela Troyan, Exhibit “E”, N.T. 200-203.

52 see Exhibit “A int 289-295.

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common knowledge and may always be assumed that any seller will express a favorable opinion
concerning what he has to sell; and when he praises it in general terms, without specific content or
reference to facts, buyers” understand that they cannot literally rely upon such representations
Restatement (Second) of Torts §542 cmt. e (1978)

68. For example in Huddleston v. lnfertilitv Center of America lnc., 700 A.2d 453 (Pa.
Super. 1997) the fertility center claimed it was the “premier surrogacy program in the country.” The
court held such a statement constituted puffery with no legal consequence lgl_z Accordingly, in
Zaborowski, supra, the plaintiff claimed to have relied on the representation of the defendant skilled
care nursing home in the letter which stated: “[a]s always, our priority is to provide quality care and
to provide a safe and comfortable environment to our residents.” This statement was deemed elusive
and did not constitute a representation Rather, it was puffery. Zaborowski, 2002 WL 32129508.

69. Likewise here there is no evidence that plaintiff justifiably relied upon any
representation made by Ms. Troyan or of Ms. Lindner of Salon Secrets regarding the laser service
and/or the presence of a medical director.

70. Plaintiff knew about laser hair removal before undergoing any services at Salon
Secrets; she was not relying on any Supposed misrepresentation made by Pamela Troyan or Ms.
Lindner of Salon Secrets that compelled her to have the service53

71. Plaintiff was not enticed to the salon because she saw any representation regarding
the medical director. ln fact, she testified she had no knowledge of Dr. Burke.54

72. Regarding plaintiffs’ claim that there was a misrepresentation about a skin test, l\/ls.

Troyan herself did not make any representations that a skin test was not necessary. To the contrary,

 

53 See deposition of plaintiff, Exhibit "C", N.T. 68-70.
54 matter 114~15.

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it was Salon Secrets policy to perform a skin test before all laser services 55

73. Ms. Troyan and Ms. Lindner lacked any intent to mislead plaintiff about the laser
service or Dr. Burke’s status as medical director.

74. Last, there is simply no evidence that the alleged injury was proximately caused by
any representation and/or justifiable reliance thereon.

WHEREFGRE, defendants Salon Secrets Day Spa, lnc. and Pamela Troyan, respectfully
request that this partial summary judgment be granted in their favor and against the plaintiffs with
prejudice

BENNETT, BRICKLIN & SALTZBURG LLC
Respectfully submitted,

BY: M/¢G\Lt/ //}4. /(ot/Mwiw<//L
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55 See deposition of Pamela Troyan, Exhibit "E", N.T. 49-50. Ms. Lindner testified that she was aware
that a skin test was necessary See Exhibit "D", N.T. 98-99.

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IN THE UNITED STATES DISTRICT C()URT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBORAH CHARLESTON and
LARRY CHARLESTON, W/h
CIVIL ACTION
vs.
SALON SECRETS DAY SPA, INC. and : NO. 08-5889
PT LASERS, LLC and :

PAMELA A. TROYAN and
BARBARA A. LINDNER and
THOMAS J. BURKE, D.O. and
JOHN DOE, Nos. 1-5

MEMORANDUM OF LAW IN SUPPORT OF PARTIAL MOTION OF SUMMARY
JUDGMENT OF DEFENDANTS SALON SECRETS DAY SPA INC. AND PAMELA A.
TROYAN RE ALL CLAIMS VS. PAMELA TROYAN THE PUNITIVE AND TREBLE

` DAMAGES CLAIMS AND COUNTS III AND IV ALLEGING CONSUMER AND
COMMON LAW FRAUD

 

 

 

I. INTRODUCTION

This case arises out of a chin and jaw laser hair removal service of February 10, 2007.
Plaintiff Deborah Charleston claims she sustained burns Defendants maintain they have healed.
The pertinent issues are whether an employee of Salon Secrets Day Spa, lnc. [hereinafter “Salon
Secrets”], Barbara Lindner, an esthetician, was negligent in the performance of the service; and if
so, whether Thomas V. Burke D.O. was vicariously responsible as the supervising medical director
of Salon Secrets, which he denies, claiming he resigned effective April, 2006.

A. The Punitive Damages Claims Should Be Dismissed

Since there is no evidence of intentional, outrageous or reckless misconduct on the part of
Salon Secrets, Ms. Lindner, its employee or Ms. Troyan, individually, the punitive damages claims
should be dismissed

B. Plaintiffs Can Not Pierce the Cornorate Veil of Salon Secrets So Pamela Troyan
Sued Individuallv Should be Dismissed

As sole shareholder of Salon Secrets, a corporation, Ms. Troyan can not be held personally

 

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liable because she was not an active participant in the alleged tortious conduct-performing the laser
service She also did not misrepresent anything about the laser service or about the salon’s medical
director, Dr. Burke. Consequently, since plaintiffs, have not pled or discovered facts sufficient to
pierce the corporate veil, Ms. Troyan should be dismissed Salon Secrets would remain a defendant,
as the employer of the alleged'tortfeasor, Barbara Lindner,

C. Count III Alle in Consumer Fraud UTPCPL Should Be Dismissed

Plaintiff was neither enticed to have the laser service nor did she rely on a representation on
the website of Salon Secrets or by Ms. Troyan or Ms. Lindner about the laser service or Dr. Burke
being medical director in connection with her decision to have the service

In the alternative no claim exists against a salon and salon owner for a violation of the
UTPCPL under the allegations of this case that an improper and/or unsupervised medical procedure

was performed, or for fraud as set forth in Count IV.

D. Paragraph 287 of the Amended Complaint Claiming Threefold or Treble
Damages Should be Dismissed

Since there is insufficient evidence of intentional, outrageous or reckless misconduct or
conduct to support a claim for punitive damages threefold or treble damages under the UTPCPL
should be dismissed

E. Court IV Alleging Common Law Fraud Should Be Dismissed

No misrepresentations material to the transaction (plaintiff’ s decision to purchase laser hair
removal services) was made that plaintiff relied upon. ln fact, all plaintiff knew before she had the
service was that Ms. Lindner recommended it-there was no discussion about Dr. Burke or Ms.
Lindner’s qualifications or the risks of the service per the plaintiff Theref`ore, this common law

fraud count should be dismissed

 

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II. E_AB

The facts in the foregoing motion are incorporated herein as fully as if set forth herein.
III. ARGUMENT

A. Standard for Summag; Judgment

Summary Judgment shall be granted if the “pleadings, depositions answers to interrogatories
and admissions on file together with the affidavits if any, show that there is no genuine issue as to
any material fact and that the moving party is entitled to a judgment as a matter of law." Fed. R. Civ.
P. 56(c)). ln deciding a motion for summary judgment under Rule 56, "the test is whether there is
a genuine issue of material fact and, if not, whether the moving party is entitled to judgment as a
matter of law." Medical Protective Co. v. Watkins. 198 F.3d 100, 103 (3d Cir. 1999) (citing
Arrnbruster v. Unisvs Corp., 32 F.3d 768, 777 (3d Cir. 1994)). "The inquiry is whether the evidence
presents a sufficient disagreement to require submission to the jury or whether it is so one sided'that
one'party must, as a matter of law, prevail over the other." Anderson v. Libertv Lobbv, Inc., 477
U.S. 242, 249, 91 L. Ed. 2d 202, 106 S. Ct. 2505 (1986). On a motion for summary judgment, the
facts should be reviewed in the light most favorable to the nonmoving party. §§_e Matsushita Elec.
lndus. Co. v. Zenith Radio Corr)., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).

The nonmoving party "must do more than simply show that there is some metaphysical doubt
as to the material facts," Matsushita, 475 U.S. at 586, and must produce more than a "mere scintilla"
of evidence to demonstrate a genuine issue of material fact in order to avoid summary judgment
g Big ADple Bl\/IW, Inc. v. BMW of North America. Inc., 974 F.2d 1358, 1363 (3d Cir. 1992).
The nonmoving party cannot rest upon the allegations in their pleadings in response to a motion for
summary judgment Instead, a party opposing summary judgment must " go beyond the pleadings and
by [their] own affidavits or by the depositions answers to interrogatories and admissions on file

designate specific facts showing there is a genuine issue for trial." ln re Tl\/ll, 89 F.3d 1106, 1116

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(3d Cir. 1996) (citing Celotex Corp., 477 U.S. at 324 (1986)). The plaintiffs here do not have
sufficient evidence that an issue of material fact exits

Summary judgment must be granted "against a party who fails to make a showing sufficient
to establish the existence of an element essential to that party's case and on which that party will
bear the burden of proof at trial." Celotex Corp. v. Catrett, 477 U.S. 31'7,'322, 91 L. Ed. 2d 265, 106
S. Ct. 2548 (1986). A fact is material if it could affect the outcome of the suit after applying the
substantive law. Further, a dispute over a material fact must be 'genuine,' i.e., the evidence must be
such 'that a reasonable jury could return a verdict in favor of the nonmoving party.'" Compton v.
Nat'l League of Professional Baseball Clubs, 995 F. Supp. 554, 561 n.14 (E.D. Pa 1998).

Based upon the authorities discussed below and the relevant undisputed facts the within
motion should be granted

B. The Punitive Darnages Clainrs Should Be Dismissed

There is no evidence that the actions of Salon Secrets or Pamela Troyan were intentional,
willful, wanton or reckless Thus plaintiffs shall not be entitled to punitive damages This court has
adopted the Pennsylvania Supreme Court standard for punitive damages See Mansamann v. Tuman,
970 F. Supp. 389 (E.D. Pa. 1997)(citing SHV Coal, Inc. v. Continental Grain Co., 526 Pa. 489, 493
(1991). Under Pennsylvania law, punitive damages may be awarded only for conduct that is
especially egregious or outrageous Martin v. lohns-l\/lanville Corp.. 508 Pa. 154, 494 A.2d 1088,
1096-97 (Pa.1985), Medvecz v. Choi, 569 F.2d 1221 (3d Cir. 1977) (citing Restatement of Torts,
Section 908 (1939)). Pennsylvania has adopted § 908 of the Restatement (Second) of Torts and
accompanying comments regarding the imposition of punitive damages Section 908(2) provides:

Punitive damages may be awarded for conduct that is outrageous because of the defendant's
evil motive or his reckless indifference to the rights of others

Restatement of Torts (Second) § 908(2). Comment b to this section of the Restatement states:

 

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“Punitive damages are awarded only for outrageous conduct, that is for acts done with a bad motive
or with reckless indifference to the interests of others” Ld.

The Pennsylvania Supreme Court has reiterated the exacting standards for a plaintiff to
prevail on a punitive damages claim. “[The] assessment of punitive damages are proper when a
person's actions are of such an outrageous nature as to demonstrate intentional, willful, wanton, or
reckless conduct, and are awarded to punish that person for such conduct.” Mansamann v. Tuman,

970 F. Supp. 389 (E.D. Pa. l997)(citing SHV Coal lnc. v. Continental Grain Co., 526 Pa. 489, 587

 

A.2d 702, 704 (Pa.l99l); see also Neal v. Carev Canadian Mines Ltd., 548 F.Supp. 357, 377 GE.D.
Pa. 1982). Importantly, punitive damages may not be awarded for misconduct, “which constitutes
ordinary negligence such as inadvertence mistake and errors of judgment.” _l\_/l£in, 494 A.2d
at 1097 (emphasis added).

Punitive damages should not be awarded to plaintiffs because Ms. Troyan and the Salon
Secrets did not demonstrate intentional misconduct, or any evil motive or reckless indifference
Plaintiffs allege that Ms. Troyan operated the spa with medical services without a medical director.
lt was Ms. Troyan's belief that at the time of the incident, February 2007, Dr. Burke was still acting
as the medical director.56 The fact that he continued to share the device with Salon Secrets and he
still had a key to the salon and visited Salon Secrets to pick up the laser device through 2007
suggests that he was still the medical director.57

Furthermore, there is no evidence that there were any practices of Salon Secrets which could
be classified as having an evil motive or reckless indifference to Mrs. Charleston. The salon had

procedures and practices in place Such as consent forms and information on treatments which were

 

56 See deposition ofPamela Troyan, Exhibit "F", N.T. 345-347.
57 See deposition of Dr. Burke Exhibit “H”, N.T. 189.

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to be provided to clients ln addition, employees were trained extensively on how to use the

.59 Even if Ms. Lindner were to be found to have acted in an negligent manner as an

equipment
employee of the salon, she did by no way act in an intentional, willful, wanton or reckless manner.
Accordingly, the court should grant summary judgment in favor of Pamela Troyan and Salon

Secrets and dismiss with prejudice the claims for punitive damages

C. Plaintiffs Can Not Pierce the Corporate Veil of Salon Secrets so Pamela Troyan
Sued Individuallv Should Be Dismissed

Plaintiffs allege that Pamela Troyan is liable as an individual even though she was not the
employer of Barbara Lindner, who committed the alleged tortious acts with regard to the laser hair
removal service60 That position contradicts one of the purposes of a corporation--to protect the
shareholders from personal liability. ln order for a shareholder to be liable the corporate veil must
be pierced. Here, there is insufficient evidence to pierce the corporate veil. Plaintiffs do not even
plead that theory in the amended complaint

The issue of whether a corporate veil may be pierced is a matter of state law. See _S_ta_r_
Creations Investment Co., Ltd. v. Alan Amron Development, lnc., 1995 U.S. Dist. LEXIS 11967,
*34 (E.D.Pa.1995). Plastipak Packaging, lnc. v. DePasguale 75 Fed. Appx. 86, 88 (3d Cir.2003)
(citing First Realvest. lnc. v. Averv Builders. Inc., 410 Pa. Super. 572, 600 A.2d 601, 604 (1991).
The courts employ a “totality of the circumstances test.” Plastip_ak, 75 Fed Appx. at 88. Using this
test, Pennsylvania courts have generally been willing to pierce the corporate veil only when

necessary to prevent injustice l_d_. (citing Rinck v. Rinck, 363 Pa. Super. 593, 526 A.2d 1221 , 1223

 

55 See deposition of Pamela Troyan, Exhibit "E", N.T. 175, see also deposition of Barbara Lindner, Exhibit
"D", N.T. 66.

59 See deposition of Barbara Lindner, Exhibit “D”, N.T. 19-20. See also deposition of Dr. Burke Exhibit
"G", N.T. 19, 21-24. See also deposition of Mark Carpenter, Exhibit “J”, N.T. 21-24.

60 see Exhibit "A".

 

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(1987).

However, there is a strong presumption against piercing the corporate veil. Piercing the
corporate veil is the exception to the rule; and the corporate entity should be upheld unless there are
specific and unusual circumstances The factors which are considered when determining whether
the corporate veil should be pierced are: (1) undercapitalization; (2) failure to adhere to corporate
formalities (3) substantial intermingling of corporate and personal affairs and (4) use of the
corporate form to perpetuate a fraud See Klein v. Weidner, 2010 WL 571800 (E.D.Pa. 2010)

(quoting Lumux lndust. lnc. Aultman, 543 Pa. 38 (1995)).

 

The plaintiffs herein do not plead any factors relating to piercing the corporate veil theory,
and equally important, they do not have evidence to support any of them. Soley because Ms. Troyan
is the sole shareholder does not make her personally liable ln CGB Occupational Therapv lnc. v.
Bala Nursing and Retirement Centerq LTD, 2005 WL 280838 (Phila Cty 2005)61 when ruling on a
motion for summary judgment, the court concluded that solely because the defendant Was the
sole shareholder did not provide sufficient evidence to support his personal liability and
granted the motion for summary judgment on this claim. id The rationale of Q_Q_B_
Occupational Therapv lnc. compels the granting of the within motion. Specifically, merely because
Ms. Troyan is the sole shareholder is not sufficient to establish that she is personally liable to
plaintiff

The following Pennsylvania Superior Court case concerning an individual shareholder is also

 

61 Defendant’s motion for summary judgment was granted in part and denied in part. The court ruled that
there was insufficient evidence to pierce the corporate veil doctrine The court did not hold defendant Philip Miller
personally liable for claims against Bala Nursing and Retirement Center, MDC Asset Management Corp and the
Center for Rehabilitative Therapies based solely upon an affidavit that stated Miller was either the President or CEO
of those business entities Plaintiff argued the corporate veil must be pierced to hold Miller personally liable for the
alleged acts of CRT, MDC, and Bala including claims for breach of contract, fraud and conversion, among others
because Miller was the CEO or President of the entities and Plaintiff had an Affidavit to that effect and used the
affidavit to argue that Miller’s status alone could establish these businesses were merely an instrumentality of Miller.
CGB Occupational Therapy lnc., 2005 WL 280838.

 

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particularly pertinent and compels the granting of the within motion since plaintiff herein have failed
to plead the factors pertinent to piercing the corporate veil. Village at Camelback Propertv Owners
Assn. lnc. v. Carr, 371 Pa. Super. 452 (1988),62 where an incorporated association of owners at a
townhouse development brought action against corporate officer, officer’s sole proprietorship,
corporations and limited partnerships to recover for breach of express and*implied warranties
negligence misrepresentation, conversion, breach of duty of good faith and fair dealing, and breach
of duty as individual director of association and violations of the federal racketeering statutes id
at 455-56.

The Court concluded the appellant was seeking to impose personal liability on Carr, an
individual shareholder, for all of the alleged acts of the corporate defendants by piercing the
corporate veil. The court then looked towards what the plaintiff pleaded as it pertained to Carr as
an individual and noted that plaintiff pleaded certain facts against Carr as an individual I_d at 463.
Specifically, plaintiff alleged Carr had undertaken personal obligations in connection with the
Village, committed torts in his capacity as an officer of the various corporate defendants ld4
Otherwise stated, he personally participated in the tortious act of the company. Thus, a piercing of
the corporate veil theory of the various corporate defendants in order to assess liability against Carr
was supported 63 There the plaintiff pleaded the precise factors that compel courts to pierce the
corporate veil.64 Plaintiffs in this case did not.

Additionally, Pamela Troyan cannot be held personally liable under a “participation theory”

 

62 The trial court (in Monroe County) granted preliminary objections in defendants favor. On appeal, the
Superior Court reversed and remanded

65 However, the court later noted that it recognized that it could later be apparent after more discovery

takes place that Carr assumed no enforceable personal undertakings and is entered to judgment on the pleadings But
at that point, the standards for sustaining a demurrer were not present l_d; at 464.

64 see Exhibit “A”.

 

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of piercing the corporate veil since she did not personally participate in the alleged tortious acts
Village at Camelback Propertv Owners Assn. lnc. , supra. The participation theory imposes personal
liability on corporate officers or shareholders where they have personally taken part in the actions
of the corporation. See also Wicks v. Milzoco Builders lnc., 503 Pa. 614, 621 (1983).65

The Supreme Court of Pennsylvania has endorsed the following definition of “participatioii`
theory”:

The general, if not universal, rule is that an officer of a corporation who takes part in the

commission of a tort by the corporation is personally liable therefor; but that an officer of a

corporation who takes no part in the commission of the tort committed by the corporation

is not personally liable to third persons for such tort, nor for the acts of other agents officers

or employees of the corporation in committing it, unless he specifically directed the

particular act to be done or participated or cooperated therein.
__W_i_cl§, 503 Pa. at 621-22, 470 A.2d 86 (citing 3A Fletcher, Cyclopedia of the Law of Private
Corporations § 1 137, p. 207 (perm. ed rev.1975)). A corporate officer may only be held individually
liable if he or she has taken some sort of affirmative act in furtherance of the alleged tort. Indeed,
the court noted that corporate officers may only be held liable for misfeasance and not “mere
nonfeasance.” I_cL at 622, 470 A.2d 86. See l\/chovern v. lack D's, lnc. 2004 WL 228667 (E.D.Pa.
2004). Also notable the Pennsylvania Supreme Court stated in __W_i_c_l;_s_, supra, that only claiming
the corporate officer should have known the consequences of the liability creating corporate act alone
is insufficient to prove liability. See § at 623.

Similarly in Loeffler v. McShane, 372 Pa. Super. 442 (1988), the Superior Court held a

corporate officer liable in his individual capacity because the officer specifically directed the

 

65 In Wicks the plaintiffs were homeowners in a subdivision and they brought a cause of action alleging
the corporation and its individual shareholders were liable in tort. The complaint stated the individual shareholders
were aware or should have been aware of the problems and therefore were negligent in failing to take appropriate
measures ln Wicks the court held the allegations were sufficient to establish a cause of action in tort against the
individual shareholders under the participation theory because the shareholders were personal participants in the

tortious acts allegedly committed by the corporation. See g at 617-18.

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particular act be done. This direction resulted in the loss of the a mortgagors’ settlement funds
lt was this active involvement in the misallocation of funds that was both misfeasance and
negligence which was sufficient to support a finding of personal liability on the part of the corporate
officer. See L_oeffl_er, 372 Pa. Super. at 447.

Pamela Troyan was not a personal4'""participant as she did not perform the laser service or
recommend it to Mrs. Charleston. Rather, it was Barbara Lindner, an employee of the spa who
recommended and performed the service66 More importantly, Ms. Charleston did not testify that
she relied upon any representation made by Salon Secrets or Ms. Troyan in deciding to have her laser
service67 The same can be said about Ms. Troyan’s lack of knowledge regarding Dr. Burke’s
medical license Dr. Burke did not inform Ms. Troyan that his license had lapsed in October, 2006.68

More importantly, l\/Irs. Charleston did not testify that she relied upon any representation
made by Salon Secrets or Ms. Troyan in deciding to have the laser service69 She was not persuaded
by any actions of Ms. Troyan or representations made by Ms. Troyan or the salon to receive the
treatment Accordingly, Ms. Troyan cannot be said to have acted with misfeasance but rather,
nonfeasance See Cohen v. Maus 297 Pa. 454 (1929) (directors of a corporation cannot be held
individually liable for a conversion by the corporation and its general manager about which they

knew nothing simply because they might have discovered the conversion by examining the corporate

 

56 See deposition of plaintiff, Exhibit “C”, N.T. 104-106. Plaintiff had gotten services done by Ms. Lindner
before and was already coming into the spa that day for eyelash extensions and a microdermabrasion. l_d_. at N.T.
103-4.

67 See deposition of plaintiff Exhibit “C”, N.T. 97-99. Plaintiff initially came to the salon seeking eyelash
extensions She returned on several occasions for eyelash extensions and did not decide to get laser hair removal
until her appointment on February 10, 2007, E. at N.T. 103-104.

68 see deposition of Dr. Burke, Exhibit “”,o N.T. 46-43.

59 See deposition of plaintiff Exhibit “C”, N.T. 97-99. Plaintiff initially came to the salon seeking eyelash

extensions She returned on several occasions for eyelash extensions and did not decide to get laser hair removal
until her appointment on February 10, 2007, _l_d_. at N.T. 103-104.

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records).
Additionally, Ms. Troyan also cannot be held liable as a sole shareholder for acting within

her role as owner of the salon, unless she took steps outside that role. In Zaborowski v. Hospitality

 

Care Center of Hermitage Inc.. 2002 WL 32129508 (Mercer Cty 2002) the individual defendants
filed preliminary objections in the nature of demurrer which were'sustained. Cassity and Bible were
directors and officers of defendant Hospitality Care Center of Hermitage and they were sole
shareholders They contended that they could not be personally liable because the alleged actions
were taken by them in their capacity as directors and officers of the corporate entity. The court stated
the plaintiff failed to aver sufficient facts to support personal liability under the participation theory
because there are no allegations that they took actions separate from the actions they took as
corporate officers The individual defendants could not be found negligent regarding the
supervision of Hospitality’s employees because their “position as corporate officers cannot, in and
of itself, lead to imposing personal liability for the alleged negligence of Hospitality.” See
Zaborowski, 2002 WL 32129508 (citing Chester-Cambridge Bank and Trust Co. v. Rhodes, 346 Pa.
427 (1943)).
ln view of the above cases Ms. Troyan cannot be held personally liable for acting within her
role as owner of Salon Secrets There is no evidence that Ms. Troyan took separate actions that
would make her personally liable This differs from Village at Camelback Pror)ertv Owners Assn.
ln_c because Pamela Troyan did not, as an individual, make any misrepresentations to plaintiff herself
or personally participate in any negligent act. Furthermore, even if Salon Secrets’ employee Barbara
Lindner, acted negligently, without any evidence that Ms. Troyan personally caused her to act
negligently, that negligence does not give rise to a piercing of the corporate veil argument
Plaintiffs may argue that as sole shareholder of Salon Secrets l\/ls. Troyan facilitated the

practices that lead to the tortious conduct but the record is devoid of l\/ls. Troyan specifically

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exhibiting behavior outside her role as owner of the company; and as owner, she had appropriate
policies and procedures in place for the operation of the laser--her employees were trained on the
proper use of the laser and as far as she knew, Dr. Burke was the medical director. Thus, any
argument by plaintiffs asserting that Ms. Troyan facilitated the tortious conduct is without merit.

"4]). Count III Alleging Consumer Fraud §UTPCPL) Should Be Disr`ii`issed
Count III of the Amended Complaint should be dismissed because plaintiffs do not have
sufficient evidence that the Salon Secrets or Pamela Troyan committed consumer fraud under the
UTPCPL. Private actions are defined under the Act in 73 P.S. 201-9.2(a) as:
(a) Any person who purchases or leases goods or services primarily for personal, family or
household purposes and thereby suffers an ascertainable loss of money or property, real or
personal, as a result of the use or employment by any person of a method, act or practice
declared unlawful by section 3 of this act, may bring a private action, to recover actual
damages or one hundred dollars (8100), whichever is greater.
73 P.S §201-9.2(a). To prove liability under the UTPCPL, the plaintiff needs to present sufficient
evidence that she justifiably relied upon the alleged misrepresentations made by defendants a causal
connection is not enough. Specifically, as Pennsylvania Superior Court held in Weinberg v. Sun Co.,
740 A.2d 1152 (Pa. Super. 1999), that “[t]o bring a private cause of action under the [Consumer
Protection Law] , a plaintiff must show that he justifiably relied on the defendant’ s wrongful conduct
or representation and that he suffered harm as a result of that reliance.” A justifiable reliance
requires the plaintiff to show she justifiably bought the product because of the
misrepresentations a causal connection is not enough. See Weinberg, 777 A.2d at 445. This
standard applies to all sections of the Consumer Protection Law. See Hunt v. United States Tobacco
Company, 538 F.3d 217, 224 (3rd Cir. 2008).
Specifically, a plaintiff must demonstrate that common law elements of justifiable reliance

in order to sustain a private cause of action under the UTPCPL. Tov v. l\/letropolitan Life lnsurance

_C_c_)_., 863 A.2d 1 (Pa. Super. 2004). ln Hunt, Judge Ambro of the Third Circuit stated that the

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Supreme Court of Pennsylvania has consistently interpreted the Consumer Protection Law’ s private-
plaintiff standing provision causation requirement that there must be a showing of justifiable
reliance not simply a causal connection between the misrepresentation and the harm.70

There is insufficient evidence that Mrs. Charleston justifiably relied upon any representation
made by Pamela Troyan or Salon Secrets regarding the laser procedure and/or presence of a medical
director. Specifically, plaintiff decided on her own accord to seek out or try laser hair removal prior
to receiving it at Salon Secrets She discussed with Dr. Vause on May 16, 2006 that she may

.71 Accordingly, she knew about and considered laser hair removal

possibly want laser hair removal
before going to Salon Secrets
Ms. Troyan was not at the salon at the time she did not suggest the service72 She did not
encourage her staff to suggest services using the Harmony device73 There is no evidence on record
that Ms. Lindner represented anything in particular to plaintiff about the laser hair removal that was
false
Also important, there is no evidence of any justifiable reliance of plaintiff on any advertising

about the laser services on the Salon Secrets website or elsewhere Plaintiff testified she was not

enticed to go to the salon because she read anything on the Salon’s website regarding laser services

 

70 Accordingly, the Third Circuit held the plaintiff did not adequately allege that he justifiably relied on the
defendant’s deception because he did not allege the deception induced him to purchase the product. E. at 227. The
court stated that although the plaintiff alleges that he and the class relied on the presumption they were paying prices
set by an efficient market, he does not show how knowledge that the market was inefficient would change his mind
M. The court held the private consumer was required to show justifiable reliance in the defendant’s alleged deception
and there is not a presumption of justifiable reliance E. at 228.

11 see deposition ofplaintiff, Exhibit “”,c N.T. 67.

72 E. at N.T. 109, 1 1 1-15. Plaintiff testified regarding who she interacted with at the salon during any of
her visits which did not involve Ms. Troyan.

75 _Id_. at N.T. 1 14-15. Plaintiff testified no staff at the salon specifically drew her attention to the laser hair
service prior to her appointment with Barbara Lindner on February 10, 2007.

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or medical director.74 She also did not see any business cards or literature about any physician on
the reception desk,75 nor did any employee at the salon tell her that Dr. Burke was medical director.76
ln the alternative the UTPCLP is not applicable to claims against a salon and a salon owner
under the UTPCPL based on the allegations that an improper and/or unsupervised medical procedure
was performed Consumer protection laws were designed to thwart bushiness fraud in the statutory

sense Pirozzi v. Penske Olds-Cadillac-GMS lnc., 605 A.2d 373, 413 Pa. Super. 308, app. den. 616

 

A.2d 985, 532 Pa. 665 (1992).

The Pennsylvania UTPCPL doesth provide for a right of action against providers of
professional services such as laser hair removal. See e.g. Foflygen v. R. Zemel. M.D., (P.C.l. et al.,
615 A.2d 1348 (Pa. Super. 1992); Gatten v. l\/lerzi, 397 Pa. Super. 148 (1990). Because such laws
are inapplicable to the provision of medical services and plaintiffs alleged that the procedure at issue
was a medical procedure performed under the supervision of Dr. Burke plaintiffs’ claim must fail

for this additional reason.

E. Paragraph 287 of the Amended Complaint Claiming Threefold or Treble
Damages Should be Dismissed

lf plaintiffs’ claims under the UTPCPL are dismissed plaintiff is not entitled to treble
damages The UTPCPL statute does allow for treble damages to be awarded when the act is
violated, however awarding treble damages is discretionary The court should not award them here
ln exercising their discretion to award treble damages under the UTPCPL, courts should focus on
the presence of intentional or reckless conduct Schwartz v. Rockey, 932 A.2d 885, 593 Pa. 536

(2007).

 

74 See deposition of plaintiff, Exhibit “C”, N.T. 110.
15 m atN.T. 110.
75 ni_. at N.T,i 15.

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With that in mind, there is no evidence of record that Pamela Troyan or Salon Secrets
exhibited any intentional or reckless wrongful conduct Plaintiffs claim moving defendants were
reckless because the Salon operated with medical services without a medical doctor. However, Ms.
Troyan was not aware Dr. Burke was not currently acting as a medical director. Although she knew
he was resigning, she did not know'he no longer held a valid Pennsylvania license and did not work
at the salon as a medical director until after the incident of February, 2007, In addition, employees
of Salon Secrets also believed he continued to be medical director.77 Additionally, Dr. Burke even
acted as though he were currently the medical director as he discussed the incident with Ms.
Troyan.78 Through the end of 2006 and 2007 he shared the laser device with Salon Secrets retained
and used a key to pick up and drop the device at Salon Secrets79

Equally important, the salon had polices and procedures in place to ensure safe practice No
one disputes there was a skin test procedure that must be performed; and that patients were to
complete a consent form.80 Ms. Lindner admits that she did not wait 24-48 hours to conduct a skin

81 The salon had their policies and

test, which could be construed as negligent, but not reckless
procedure in place to ensure safe practice As such, the record is devoid of any evidence that the

conduct or Salon Secrets or Pamela Troyan was intentional, willful, wanton or reckless conduct.

 

77 See deposition of Barbara Lindner, Exhibit “D”, N.T. 46-47. Ms. Lindner evidenced her belief after
performing plaintiffs treatment because she immediately called Dr. Burke. See also depositions of Stephanie Burns
Exhibit “K”, N.T. 39-40 and Kim Lancashire, Exhibit “L”, N.T. 44.

75 See deposition of Pamela Troyan, Exhibit “E”, N.T. 42-46.

19 see deposition ofDr. Burke, Exhibit “”,H N.T. 189.

50 See deposition of Barbara Lindner, Exhibit “D”, N.T. 98-99, see also deposition of Pamela Troyan,
Exhibit “E”, N.T. 49-50.

51 see deposition of Barbara Lindner, Exhibit “D”, N.T. 98-99.

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F. Count IV Alleging Common law Fraud Should Be Dismissed

The elements of common law fraud are: (1) a representation; (2) which is material to the
transaction at hand; (3) made falsely with knowledge of its falsity or recklessness as to whether it
is true or false; (4) with the intent of misleading another into relying on it; (5) justifiable reliance on
the misrepresentation; and (6) resulting injury was proximately caused by the reliance Zab`orowski
v. Hospitality Care Center of Hermitage lnc., 2002 WL 32129508 (Mercer Cty 2002) (citing _(_i£b_l_)_s
L]E_rnsf, 538 Pa. 193, 647 A.2d 882, 889 (1994)). A misrepresentation, however, must be
distinguished from puffery. ld See Berkebile v. Brantlv Heliconter Cort)., 462 Pa. 83, 103, 337
A.2d 893, 903 (1975). Puffery is “an exaggeration or overstatement expressed in broad, vague and
commendatory language.” Castrol lnc. v. Pennzoil Co., 987 F.2d 939, 945 (3d Cir. 1993). Such
speech is “offered and understood as an expression of the seller's opinion only, which is to be
discounted as such by the buyer, and on which no reasonable [person] would rely.” ld, W. Page
Keeton, Prosser and Keeton on the Law of Torts §109 at 757 (5th ed 1984). “lt is common
knowledge and may always be assumed that any seller will express a favorable opinion concerning
what he has to sell; and when he praises it in general terms without Specific content or reference to
facts buyers” understand that they cannot literally rely upon such representations Restatement
(Second) of Torts §542 cmt. e (1978).

ln Zaborowski, supra, the Court of Common Pleas of Mercer County cited Huddleston v.

lnfertility Center of America Inc., 700 A.2d 453 (Pa. Super. 1997). The fertility center claimed it

 

was the “premier surrogacy program in the country.” The Huddleston court held such a statement
constituted puffery with no legal consequence id Similarly, in Zaborowski the plaintiffs reliance
on the defendants’ representation was not justifiable where it stated: “[a]s always our priority is to
provide quality care and to provide a safe and comfortable environment to our residents.” This

statement was deemed elusive and did not constitute a representation Rather, it was puffery. See

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Zaborowski, 2002 WL 32129508.

There is no evidence that plaintiff justifiably relied upon any representation made by Salon
Secrets regarding the laser service or the status of Dr. Burke as medical director. Plaintiff was not
enticed to go to the salon and get the laser hair service because she read anything on the Salon’s
website.82 She also did not see an`y"`business cards of any physician`on the reception desk.83 She was
aware of the service prior to February 10, 20007. She discussed it with Dr. Vause on May 16, 2006.84

The fact that she may have seen a sign in the reception area that mentioned Dr. Burke does
not compel the denial of this motion. She did not remember what this sign said85 In fact, she could
not recall if the sign was there on February 10, 2007,86

As it relates to Pamela Troyan, the elements of Common Law Fraud are not satisfied because
Ms. Troyan did not have the intent to mislead At the time of plaintiff’ s treatment, it was Ms.
Troyan’s understanding and belief that the Harmony Laser was being used according to regulations
and the Salon’s procedures l\/Is. Troyan testified that she believed it was acceptable for the
physician/medical director to be off site when an esthetician used a laser to perform hair removal.87
lt was not until on or about December 8, 2007 that she recalls having a conversation with Dr. Burke

during which she learned his licensed in Pennsylvania had lapsed so he could no longer be medical

director.88 She testified that prior to this phone call, she did not know or have a suspicion that Dr.

 

82 see deposition orpiaintiff, Exhibit “”,c N.T. iio.

85 i_d. at N.T. 110.

54 d at N.T. 67.

55 i_datN.T. iii-iiz.

55 i_d.at 113_114

57 See deposition of Pamela Troyan, Exhibit “E”, N.T. 200~204.
511 d at N.T. 234.

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Burke did not have a medical license in Pennsylvania nor that her employees could not use the
Harmony device without a medical director.89 Accordingly, l\/Is. Troyan did not possess the requisite
knowledge to make any misrepresentation
In addition, regarding plaintiffs’ claim that there was a misrepresentation about a skin test,
Ms. Troyan herself did not make any representations that a skin test was not necessary. ln fact, she

t.90 She also understood

testified that all Af`rican American patients were required to have a skin tes
that before the laser hair removal procedure was undertaken, the person performing the procedure
must inspect the test spot 24-48 hours after the test.91 lt was Ms. Troyan’s understanding that a skin
test was necessary, as a licensed aesthetician who performed the treatment, Ms. Lindner was aware
of the same92 Ms. Troyan testified that the estheticians as professionals in their field, were
responsible for overseeing and enforcing the salon’s policies with regard to the use of the Harmony
device93

Last, there is simply no evidence that the alleged injury was proximately caused by any
alleged representation and/or justifiable reliance Even if Dr. Burke was the medical director the
outcome would not have been any different. There is no evidence that Ms. Lindner would have
consulted him prior to the service

Thus, l\/Is. Troyan did not make any misrepresentations to plaintiff and summary judgment

of Count IV, common law fraud is appropriate

 

59 See deposition of Pamela Troyan, Exhibit “E”, N.T. 26-27.
90 i_d. atN.T. 49-50.

91 id at N.T. 49-50.

92 See deposition of Barbara Lindner, Exhibit “D”, N.T. 98-99.
95 See deposition of Pamela Troyan, Exhibit “E”, N.T. 58-59.

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V. RELIEF
For the reasons stated herein above summary judgment is appropriate with regard to Pamela
Troyan since there is no evidence sufficient to pierce the corporate veil of Salon Secrets the
employer of Barbara Lindner, who performed the laser hair removal at issue and insufficient
"“e'vidence with regard to the claims of consumer fraud under the UTPCPL, common law fraud, treble
and punitive damages regarding both Pamela Troyan and Salon Secrets Day Spa, lnc.

BENNETT, BRICKLIN & SALTZBURG LLC
Respectf`ully submitted,

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBORAH CHARLESTON and
LARRY CHARLESTON, w/h
CIVIL ACTION
vs.

SALON SECRETS DAY SPA, INC. and : NO. 08~5889
PT LASERS, LLC and :

PAMELA A. TROYAN and

BARBARA A. LINDNER and

THOMAS J. BURKE, D.O. and

JOHN DOE, Nos. 1-5

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